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                        United States District Court
                        Eastern District of Michigan
                             Southern Division

 United States of America,
                                           Case No. 2:21-cr-20264

                                           Honorable Denise Page Hood
 v.

 Ylli Didani,
                  Defendant.
 ___________________________________/

   GOVERNMENT’S RESPONSE OPPOSING DIDANI’S MOTION
           TO EXCLUDE SKY ECC EVIDENCE

       There is no basis to exclude from Didani’s trial evidence that was

 seized by the government of France from Sky ECC. Didani’s motion

 should be denied.

                                           Respectfully submitted,

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                        United States District Court
                        Eastern District of Michigan
                             Southern Division

 United States of America,
                                           Case No. 2:21-cr-20264

                                           Honorable Denise Page Hood
 v.

 Ylli Didani,

                  Defendant.
 ___________________________________/

      GOVERNMENT’S BRIEF IN SUPPORT OF RESPONSE
      OPPOSING DIDANI’S MOTION TO EXCLUDE SKY ECC
                        EVIDENCE

       Ylli Didani used encrypted communications on Sky ECC, an

 internet-based messaging platform, to facilitate his international drug

 conspiracy. French law enforcement obtained a warrant from a French

 judge and seized communications, including Didani’s, that took place

 through Sky ECC. Three weeks before trial and well past the motion

 cut-off in this case, Didani moved for his Sky communications to be

 excluded because the French government violated the Fourth

 Amendment to the United States Constitution. But neither the Fourth

 Amendment nor the exclusionary rule apply to foreign searches by

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 foreign governments. Accordingly, Didani’s motion to exclude should be

 denied.

       Didani also incorrectly claims the government cannot authenticate

 the messages he sent and received over Sky. The government will,

 however, produce sufficient evidence to prove the evidence is what the

 government claims: messages sent and received by Didani. Indeed,

 Didani did much of the work of authenticating the messages by

 identifying himself and sending his picture in several of the messages.

 His motion should be denied.

    I. Relevant Background

           a. Background on Sky ECC and the European
              Investigation

       A witness will testify that Sky ECC was a subscription-based

 messaging platform on which encrypted communications could be

 exchanged. In 2019, law enforcement officials from multiple countries,

 including the United States, participated in a conference to discuss how

 to address the intelligence challenges posed by the use of Sky ECC

 among suspected criminals.

       Meanwhile, according to the witness, law enforcement agencies in

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 three European countries—Belgium, the Netherlands, and France—

 were working collaboratively to investigate the platform’s technical

 operation and user base. By 2019, the European investigators had

 determined that the Sky ECC servers were located in France, and

 French law enforcement sought judicial authorization to monitor traffic

 on the servers. In June 2019, a French judge granted the wiretap

 request and authorized the initial interception of all communications on

 the Sky ECC servers. Subsequent to the French judge’s order, the three

 countries formalized their collaboration as a “Joint Investigation Team”

 (“JIT”) to determine how to decode the still-encrypted messages. Once a

 method of decryption was identified, a French judge authorized several

 weeks of additional message interception for all Sky ECC users, from

 December 2020 until approximately March 2021, when the JIT

 investigation was revealed to the public.

          b. The Sky ECC evidence in this case

       A federal law enforcement agent will testify that in June 2021 the

 United States made a request to the government of France for data

 associated with numerous Sky ECC user accounts, each denominated


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 by a six-digit alphanumeric PIN or a Sky ECC moniker. He will testify

 that French officials provided a set of 6 files partially responsive to that

 request in January 20221, along with a certification, signed by a French

 judicial officer to authenticate the materials. This data included Sky

 ECC Pins “BTJ56N Panco” and “E5D826 Panco Backup,” the pins and

 monikers used by Didani. Through that agent, the government expects

 to offer relevant excerpts taken from this Sky data that the agent

 received directly from the French government.

       The Sky data, in the form in which France produced it to the

 government (and in which the government re-produced it in discovery to

 the defendant), consists of an account folder that is further divided into

 subfolders for individual “chats.” The chat subfolders are designated by

 the user PIN(s) of the participant(s) in the respective chat, and each

 contains a spreadsheet of captured communications within the chat

 between the specified users—analogous to text message “conversations”

 on typical cell phones or social media platforms. Some chats contain

 only the one-sided communications of a singular PIN. Others include


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        The French Government provided a second set of Sky ECC data in May
 2022. The United States originally requested this data in June 2020, but it was not
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 chats with multiple PINS. The chat subfolders also include transferred

 media files (i.e., photos, audio recordings, etc.), and in such cases the

 chat subfolder includes a further “media” subfolder containing the

 media files, which are referenced by filename in the chat spreadsheet.

       Investigators learned from Didani’s iCloud and phone extractions,

 that Didani utilized the Sky ECC Pins, BTJ56N and E5D826, among

 others. The January 2022 Sky data provided by the French government

 included electronic file folders entitled “export_49460 BTJ56N Panco”

 and “export_49463 E5D826 Panco Backup.” Within these file folders

 contained sub folders that each contained a spreadsheet of chats, and,

 where applicable, another subfolder named “Media File” that contained

 photographs, videos, audio messages and text attachments sent by

 Didani or by the person(s) he was communicating with.

       For example, one of the sub folders within “export_49460 BTJ56N

 Panco” was named “5_btj56n-f1c203.” Inside the “5_btj56n-f1c203”

 folder was a spreadsheet entitled “conversation_5_export_49460.” The

 spreadsheet contained Didani’s, one-sided communications between

 March 24, 2020 and November 18, 2020 utilizing the BTJ56N Pin. The


 provided in the January 2022 production
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 spreadsheet also included a column that contained the filename of the

 media (photo, video, etc.) Didani sent. Files with matching media file

 names were located in the “Media File” folder.

 II.   Didani’s motion should be denied because the Fourth
       Amendment does not apply to France’s seizure of evidence
       from Sky ECC.

       Didani argues that the Sky evidence seized by France should be

 suppressed because the French search violated the Fourth Amendment.

 (ECF No. 138, PageID.1658, 1659). But “the purpose of the Fourth

 Amendment was to protect the people of the United States against

 arbitrary action by their own Government.” United States v. Verdugo-

 Urquidez, 494 U.S. 259, 266, (1990). The protections of the Fourth

 Amendment do not apply, therefore, to foreign searches by foreign

 officials in enforcement of foreign law. United States v. Milligan, No. 20-

 CR-20134, 2023 WL 4744900, at *2 (E.D. Mich. July 25, 2023)(citing

 United States v. Serhan, No. 14-20685, 2015 WL 3578744, at *2 (E.D.

 Mich. June 5, 2015); See also United States v. Rose, 570 F.2d 1358, 1361

 (9th Cir. 1978); United States v. Hawkins, 661 F.2d 436, 455-456 (5th

 Cir. 1981); United States v. Getto, 729 F.3d 221, 227 (2d Cir. 2013).


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       Because the Fourth Amendment does not apply to foreign

 searches, it follows that the exclusionary rule does not apply to foreign

 searches either. United States v. Janis, 428 U.S. 433, 455-56 n.31

 (1976). Indeed, the Supreme Court has found this principle to be “well

 established.” Id. This is because the exclusionary rule would have no

 deterrent effect on a foreign law enforcement agency. United States v.

 Valdivia, 680 F.3d 33, 51 (1st Cir. 2012). “The exclusionary rule is

 intended to inculcate a respect for the Constitution in the police of our

 own nation. Since it has little if any deterrent effect upon foreign police,

 it is seldom used to bar their work product.” United States v. Cotroni,

 527 F.2d 708, 712 (2d Cir. 1975)(internal citations and quotation marks

 omitted); see also United States v. Barona, 56 F.3d 1087, 1091 (9th Cir.

 1995) (“Neither our Fourth Amendment nor the judicially created

 exclusionary rule applies to acts of foreign officials.” (quotation marks

 and alteration omitted)); United States v. Mount, 757 F.2d 1315, 1317-

 18, 244 U.S. App. D.C. 320 (D.C. Cir. 1985) (“[T]he exclusionary rule

 does not normally apply to foreign searches conducted by foreign

 officials.”).


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       Courts have recognized two circumstances where evidence

 obtained in a foreign jurisdiction may be excluded. Milligan, No. 20-CR-

 20134, 2023 WL 4744900, at *2. The exclusionary rule might apply if (1)

 the foreign official’s conduct was so extreme that it shocks the judicial

 conscience, or (2) if American law enforcement substantially

 participated in the search or controlled it such that foreign law

 enforcement were acting as the agents of the United States. United

 States v. Angulo-Hurtado, 165 F. Supp. 2d 1363, 1370 (N.D. Ga. 2001),

 report and recommendation adopted (Aug. 20, 2001); Milligan, No. 20-

 CR-20134, 2023 WL 4744900, at *2. Neither circumstance is present in

 this case.

       The Fourth Amendment exclusionary rule may apply to foreign

 searches and seizures if the defendant can show that “the conduct of

 foreign police shocks the judicial conscience.” United States v. Odeh, 815

 F.3d 968, 987 (6th Cir. 2016)(quoting United States v. Valdivia, 680

 F.3d 33, 51 (1st Cir.2012)). “The requirement of a showing that conduct

 ‘shocks the conscience’ stems not from the Fourth Amendment, but

 instead from a federal court's authority to exercise its supervisory


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 powers over the administration of federal justice.” United States v.

 Getto, 729 F.3d 221, 229 (2d Cir. 2013). Didani does not even allege that

 the French search shocked the conscious. For good reason: he cannot.

 Conduct does not shock the conscience when it is simply illegal—which

 the French search was not—the conduct must be egregious. Id. at 228.

 Thus, “[c]ircumstances that will shock the conscience are limited to

 conduct that “not only violates U.S. notions of due process, but also

 violates fundamental international norms of decency.” United States v.

 Mitro, 880 F.2d 1480, 1483–84 (1st Cir. 1989). The French did nothing

 shocking in this case, therefore, Didani cannot meet this burden.

       Instead, Didani seems to argue that the exclusionary rule should

 apply because the French acted as agents for the United States. But

 Didani concedes that the United States was not a part of the French

 seizure. Specifically, he alleges the government intends to use “evidence

 from France that was obtained through a European Police hacking

 operation,” (ECF No.138, PageID.1658), and that the government “knew

 the manner in which this data was obtained by France.” (Id.). Even if he

 was right that the French acted illegally—he’s not—and that the


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 government requested the Sky evidence afterwards, he has not met his

 burden of showing that the French were acting as agents of the United

 States during the search.

       In this context, the exclusionary rule applies to foreign searches

 only “if American law enforcement officials participated in the foreign

 search, or if the foreign authorities conducting the search were acting as

 agents for their American counterparts.” Milligan, No. 20-CR-20134,

 2023 WL 4744900, at *2 (E.D. Mich. July 25, 2023). Didani doesn’t

 allege the United States took part in the search, only that the French

 acted as agents of the United States after the search. This is not

 enough. “[T]o render foreign law enforcement officials virtual agents of

 the United States, American officials must play some role in controlling

 or directing the conduct of the foreign parallel investigation.” United

 States v. Aleem, 641 F. App'x 96, 97 (2d Cir. 2016). So, courts have

 found that the exclusionary rule doesn’t apply to foreign searches “even

 though American officials are present and cooperating to some degree.”

 United States v. Rosenthal, 793 F.2d 1214, 1231 (11th Cir. 1986). And it

 doesn’t apply if the search was based on information provided by the


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 United States. United States v. Maturo, 982 F.2d 57, 61 (2d Cir. 1992).

 Or to a search that was funded in part by the United States. Id. at 60

 (DEA’s provision of “money, information and wiretapping equipment” to

 Turkish investigators did not make them agents of the United States).

       Didani cannot meet his burden here because the French were not

 acting as agents of the United States when they seized the Sky ECC

 evidence. His motion should be denied.

 III. The government will properly authenticate the Sky
      evidence by establishing they are the communications if
      Didani.

       The government anticipates introducing excerpts from two Sky

 ECC Pins used by Didani. An agent will testify that he requested the

 government of France to produce data from numerous Sky Accounts.

 The agent identified the accounts by their PIN numbers. He’ll testify

 that he received a set of files for six accounts that were partially

 responsive to that request from the French. The files were certified and

 signed by a French judicial officer to authenticate the materials.

       The United States can demonstrate that the Sky communications

 that will be introduced at trial are in fact encrypted Sky ECC


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 communications transmitted to or from Didani. By doing so, the

 government can satisfy the “slight” burden for authentication under

 Rule 901. Gregg v. Ohio Dep’t of Youth Servs., 661 F. Supp. 2d 842, 852

 (S.D. Ohio 2009) (citing Lexington Ins. Co. v. W. Pa. Hosp., 423 F.3d

 318, 328 (3d Cir. 2005)).

       Authentication requires the proponent of the record to “produce

 evidence sufficient to support a finding that the item is what the

 proponent claims it is.” Fed. R. Evid. 901(a). This is not an exacting

 burden, United States v. Gagliardi, 506 F.3d 140, 151 (2d Cir. 2007),

 and the government may establish the authenticity of an exhibit

 through circumstantial evidence. United States v. Crosgrove, 637 F.3d

 646, 658 (6th Cir. 2011). The government must only make a prima facie

 showing of authenticity so that a reasonable jury could infer that the

 text messages are in fact what the government claims. United States v.

 Carriger, 592 F.2d 312, 316 (6th Cir. 1979); Gagliardi, 506 F.3d at 151.

 Once this threshold showing has been made, any questions concerning

 the genuineness of the item bear on the weight of the evidence, rather

 than its admissibility. See United States v. Knox, 166 F.3d 1215, 1998


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 WL 777986, at *3 (6th Cir. Oct. 22, 1998).

       Rule 901 sets forth an illustrative, non-exhaustive list of methods

 that can be employed to authenticate exhibits. See Fed. R. Evid.

 901(b)(1)–(10). Thus, the task of authenticating “can be accomplished in

 a number of ways—with testimony from someone with knowledge of the

 evidence offered, for example, or by pointing to distinctive

 characteristics that establish authenticity.” United States v. Farrad,

 895 F.3d 859, 876 (6th Cir. 2018).

       Here, the United States will authenticate the Sky messages in

 several ways. The text messages have distinctive characteristics that

 serve to authenticate them. Fed. R. Evid. 901(b)(4) (authentication can

 be achieved through “[a]ppearance, contents, substance, internal

 patterns, or other distinctive characteristics of the item, taken in

 conjunction with all the circumstances”); United States v. Jones, 107

 F.3d 1147, 1150 (6th Cir. 1997) (“[T]he contents of a writing may be

 used to aid in determining the identity of the declarant.” (quotation

 omitted)). The following are examples of distinctive characteristics that

 can serve to authenticate the text messages:


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       •     Pictures, PINS, names, birthdays, etc.

       Didani regularly self-authenticated the content of the SkyECC

 data by sending photographs of himself, photographs of cell phones

 where his face appears in the reflection, a photograph of his mother

 (found in E5D826 Panco Backup, “conversation_13_export_49463”),

 audio messages, and screenshots of cell phones showing his contact

 information. Below are several examples:




       BTJ56N Panco                              BTJ56N Panco
       “conversation_3_export_49460”            “conversation_14_export_49460”




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       BTJ56N Panco                             BTJ56N Panco
       “conversation_24_export_49460”           “conversation_5_export_49460”


       In addition, many of the text messages contain personal

 information that further confirmed the identity of the writer. See Fed.

 R. Evid. 901 advisory committee notes (“[A] document or telephone

 conversation may be shown to have emanated from a particular person

 by virtue of its disclosing knowledge of facts known peculiarly to him.”).

 For example, the text messages often contain personal or private

 information known only to Didani and his closest associates. See Jones,

 107 F.3d at 1150 (holding greeting card was properly authenticated

 where recipient of card testified that card was signed by defendant and

 contained references to defendant’s family “that no one else could have

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 written”).

       For example, using the E5D826 SkyECC Pin, Didani

 communicated about his partner Marty Tibbitts and his untimely death

 (“conversation_31_export_49463”) and about bringing his mother to

 South America to spend some time with “mefi’s” mother

 (conversation_31_export_49463). On June 24, 2020, using the BTJ56N

 SkyECC Pin, Didani messaged about the 2016 border search of his

 phone in Chicago – “4 years ago they catch my phone airport Chicago.”

 (conversation_41_export_49460”), and about Holland seizing his gray

 jacket depicted above, along with his Rolex

 (“conversation_3_export_49460”), a fact corroborated by evidence

 received via Dutch MLAT:




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       The SkyECC messages will also be authenticated by witnesses

 and coconspirators. They will testify that Didani used Sky, advised

 them to use Sky, and in one instance, sent one witness a Sky cell phone.

 The Sky evidence will also be authenticated by evidence seized directly

 from Didani’s phones. An agent will testify that media attachments in

 the Sky records match media files sent from Didani’s phone.

       For example, in a December 19, 2019, WhatsApp conversation

 with 31684159237 located on the phone he was arrested with, Didani

 sent the below photograph of the bulletproof jackets he purchased from

 the United States using drug proceeds:




       On March 16, 2020, using Sky ECC Pin BTJ56N

 (“conversation_23_export_49460”) Didani said, “Let’s (sic) me show

 jackets I have” and then sent a photograph of a cell phone displaying
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 the identical photograph:




       This is just one of many examples that establish the authenticity

 of the Sky ECC data. As such, a reasonable jury could infer that the Sky

 ECC data found in Pins BTJ56N and E5D826 are in fact the messages

 and media of Ylli Didani. Didani’s arguments regarding the

 genuineness bear on the weight of the evidence, not admissibility.

 IV.   Evidence from SkyECC is not unfairly prejudicial

       Didani lastly argues that the admission of his own statements

 would unfairly prejudice the jury “by painting defendant in a negative

 light….without providing reliable evidence of Defendant’s involvement

 in illegal activity.” (ECF No. 138, PageID. 1661). “Relevance requires

 only that a piece of evidence make a fact in issue more probable than it


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 would be without the evidence.” United States v. Neuhausser, 81 F.

 App'x 56, 65–66 (6th Cir. 2003). Yet relevant evidence may nevertheless

 be excluded if “its probative value is substantially outweighed by a

 danger of…unfair prejudice.” “Unfair prejudice does not mean the

 damage to a defendant’s case that results from the legitimate probative

 force of the evidence; rather it refers to evidence which tends to suggest

 [a] decision on an improper basis.” United States v. Newsom, 452 F.3d

 593, 603 (6th Cir. 2006).

       Here, all of Didani’s Sky ECC statements were made during the

 course of the conspiracy(s) charged in the government’s superseding

 indictment and they relate to Didani’s identification and his direct

 involvement in the charged crimes. “Thinly alleged prejudice

 does not outweigh, substantially or otherwise, the probative value

 here.” United States v. Growder, 2018 WL6932119 *4 (E.D.Kentucky,

 November 14, 2018).

 V.    Conclusion

       Based on the foregoing reasons, the United States respectfully

 requests that the Court deny Didani’s motion.


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                                            Respectfully submitted,

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 Dated: February 3, 2025




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                       CERTIFICATE OF SERVICE


       I hereby certify that on Monday, February 03, 2025, I

 electronically filed the foregoing document with the Clerk of the Court

 using the CM/ECF system which will send notification of such filing to

 the following:

       Standby Counsel Wade Fink, Esq.

       I have also mailed a copy of this document to Defendant Ylli

 Didani at the following address:

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                                            s/Timothy P. McDonald
                                            Timothy P. McDonald
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